                  UNITED
Case 1:19-mc-20493-UU           DISTRICT
                         STATES14
                      Document     EnteredCOURT FOR
                                          on FLSD   THE 03/12/2019 Page 1 of 3
                                                  Docket
                      SOUTHERN DISTRICT OF  FLORIDA

                                                 MIAMI DIVISION

                                         CASE    NO.: l: 19-mc-20493-W

SECURITIES AND EXCHANGE COMMISSION,
     Applicant,
V.


CARLA MARIN,
            Respondent.



                   MOTION TO WITHDRAW ARI A. SWEETBAUM. ESOUIRE
                          AS ATTORNEY FROM SERVICE LIST

            Respondent, CARLA     MARIN, by and through      the undersigned counsel, files this     herMotion

to Withdraw as Attorney from Service List and as grounds therefore would state as follows:

            L      Attorney Ari A. Sweetbaum is not involved in this case and therefore should be

removed as participant in this case.

            2.     In his place Attorney Alex L. Wildman should be added as participant in this case.

            3.     Jessica Perez,LegalAssistant to Attorney     Ari A. Sweetbaum should          also be removed


from the service list.

            4.     Elizabeth Gonzalez, Legal Assistant to Attorney Alex L. Wildman should be added

to the service list.

            WHEREFORE, Respondent respectfully requests this Honorable Court to remove Attorney

Ari A. Sweetbaum and Legal Assistant,         Jessica Perez from the Courl's service lists and in their place


add Attorney Alex L. Wildman and Legal Assistant Elizabeth Gonzalez.




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     4OOOPONCE DE LEON BOULEVARD, SLTITE 8OO, CORAL GABLES, FL 33146                        ) www.drbdc-law.com
     T:305.448         7988      F:305.448.79',l8             TOLL       FREE:             888    448.7988
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                                                        Respectfully submitted,


                                                                 By      /s/ Lorne E. Berkelev
                                                                 Lorne E. Berkeley, Esq.
                                                                 Florida Bar No,: 146099
                                                                 Email: LBerkeley@drbdc-law.com
                                                                 Alexander L. Wildman, Esq.
                                                                 Florida Bar No. 116930
                                                                 Emai I : Awil dntan (@ drbdc-l aw. com

                                                                 Attorney for Respondent,
                                                                 CARLA MARIN
                                                                 4000 Ponce De Leon Boulevard
                                                                 Suite 800
                                                                 Coral Gables, Florida 33146
                                                                 Telephone No.: (305) -448-7988
                                                                 Facsimile No.: (305) 448-7978


                                      CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on the 12th day of March,20I9,I electronically filed the above

document using CM/ECF or directed service in the method set forth in the attached Service List

either via transmission of Notices of Electronic Filing generated by CM/ECF or in some other

authorized manner for those who are not authorized to receive electronically Notices of Electronic

Filing.

                                                                 /s/ Lorne E. Berkelev
                                                                 Lorne E. Berkeley, Esq




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 T:305.44       8 7988       Ir:305     448.7978          TOLL       FREE              888    448.7988
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                                                              SERVICE LIST

Amie Riggle Berlin, Esq.
Email : berlina@sec. gov
Senior Trial Counsel
Attorney for Plaintiff
SECURITIES AND EXCHANGE COMMISSION
801 Brickell Avenue, Suite 1800
Miami, Florida 33131
Telephone: (305) 982-6300
Facsimile: (305) 536-4154




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    4000 PONCE, DE LEON BOULEVARD, SUITE 800, CORAL GABLES, FL 33146                                            ) www.drbdc-law.com
    T:305.44I                  7988            F:305.448.7978                 TOLL            FREE:           888    448.7988
